          Case 5:21-cv-00844-XR Document 939 Filed 02/01/24 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION



 LA UNIÓN DEL PUEBLO ENTERO, et al.,           §
                                               §
                Plaintiffs,                    §
                                               §
 V.                                            §
                                               §
                                                           Case No. 5:21-cv-00844-XR
 STATE OF TEXAS, et al.,                       §
                                                                  [Lead Case]
                                               §
                Defendants.                    §
                                               §
 HARRIS COUNTY REPUBLICAN PARTY, et al.,       §
                                               §
                Intervenor-Defendants.         §




              LUPE PLAINTIFFS’ UNOPPOSED MOTION TO WITHDRAW
                 KENNETH PARRENO AS COUNSEL IN THE CASE

       Plaintiffs LUPE, et al. (“LUPE Plaintiffs”) respectfully move to withdraw Kenneth Parreno

as counsel in this case. Mr. Parreno will be ending his employment with the Mexican American

Legal Defense and Educational Fund (MALDEF) on February 2, 2024. LUPE Plaintiffs will

continue to be represented by, among others, Nina Perales, Fátima Menéndez, and Julia Longoria

from MALDEF. This motion is unopposed.

       Accordingly, LUPE Plaintiffs respectfully request leave to withdraw Kenneth Parreno as

counsel in this case.


Dated: February 1, 2024                     Respectfully submitted,

                                            /s/ Kenneth Parreno
                                            Nina Perales
                                            Fátima Menéndez


                                               1
Case 5:21-cv-00844-XR Document 939 Filed 02/01/24 Page 2 of 3




                           Julia Longoria
                           Kenneth Parreno
                           Mexican American Legal Defense and Educational
                           Fund (MALDEF)
                           110 Broadway Street, Suite 300
                           San Antonio, TX 78205
                           Phone: (210) 224-5476
                           Facsimile: (210) 224-5382
                           Email: nperales@maldef.org
                           Email: fmenendez@maldef.org
                           Email: jlongoria@maldef.org
                           Email: kparreno@maldef.org

                           Counsel for LUPE Plaintiffs




                              2
          Case 5:21-cv-00844-XR Document 939 Filed 02/01/24 Page 3 of 3




                              CERTIFICATE OF CONFERENCE

        I hereby certify that, on January 29, 2024, I conferred with counsel for all parties by email

regarding the instant motion, and none opposed the relief sought.


                                              /s/ Kenneth Parreno
                                              Kenneth Parreno



                                 CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that he has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on February 1,

2024.


                                              /s/ Kenneth Parreno
                                              Kenneth Parreno




                                                 3
